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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
                     CASE NO.: 8:19-cv-00449-CEH-JSS

WAHEED NELSON,

      Plaintiff,

vs.

BOB GAULTIERI, Official Capacity as
Sheriff of Pinellas County, FLORIDA
DEPARTMENT OF CORRECTIONS,
CORIZON, LLC, MAXIM
HEALTHCARE SERVICES, INC.,
MATTHEW SWICK, M.D., ALL
FLORIDA ORTHOPAEDIC
ASSOCIATES, P.A., and WITCHNER
BELIZAIRE, M.D.,

      Defendants.
                                       /

      DEFENDANTS CORIZON, LLC, FLORIDA DEPARTMENT OF
        CORRECTIONS AND WITCHNER BELIZAIRE, M.D.’S
         CONSENT MOTION FOR ENLARGEMENT OF TIME
               TO FILE REPLY MEMORANDUM

      Defendants Corizon, LLC (“Corizon”), Florida Department of Corrections

(“FDOC”) and Witchner Belizaire, M.D. (“Belizaire”) (collectively “Corizon

Defendants”) hereby files this Consent Motion for Enlargement of Time to File a

Reply Memorandum as follows:
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                                                  MOTION

            1.       On March 12, 2019 the Corizon Defendants filed their Motion to

    Dismiss or for Summary Judgment [ECF #20].

            2.       On April 2, 2019, Plaintiff filed his Response in Opposition to the

    Corizon Defendants’ Motion to Dismiss or for Summary Judgment [ECF #23].

            3.       On June 26, 2019 the Corizon Defendants filed a Motion for Leave to

    File a Reply Memorandum in Support of their Motion to Dismiss or for Summary

    Judgment [ECF #75]. The court granted this Motion giving the Corizon

    Defendants until July 10, 2019 to file their reply [ECF #76].

            4.       Recent legal emergencies, which included an appearance in state court

    on July 5, 2019 when the courts were closed, and urgent unscheduled legal work in

    county jails make timely filing impossible. The undersigned will also travel to

    Virginia today and tomorrow for a deposition in another case.

            5.       Therefore, Corizon requests an additional two days until Friday, July

    12, 2019, to file the reply.

            6.       The undersigned has contacted Plaintiff’s lawyers, who consent to the

    relief requested is this Motion.

                                     MEMORANDUM OF LAW

            Federal Rule of civil Procedure 6(b) provides, in pertinent part, that:

            When by these rules or by a notice given thereunder or by order of
            court, an act is required or allowed to be done at or within a specified

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            time, the court for cause shown may at any time in its discretion . . .
            order the period enlarged if request therefor is made before the
            expiration of the period originally prescribed or as extended by a
            previous order . . .

            By its express terms, the Rule affords wide discretion to this Court to

    enlarge time periods established by the Rules of Civil Procedure or a court order.

    See Johnson v. Bd. of Regents of Univ. of Ga., 263 F.3d 1234, 1269 (11th Cir.

    2001); Woods v. Allied Concord Financial Corp., 373 F.2d 733 (5th Cir. 1967).

    Rule 6 should be applied liberally "to secure the just, speedy and inexpensive

    determination of every action." Enlargements of time should be available when a

    party demonstrates a reasonable basis for such request. See Beaufort Concrete

    Company v. Atlantic States Construction Company, 352 F.2d 460 (5th Cir. 1965).

            A reasonable basis exists.                Sudden and urgent matters, along with

    scheduled travel in another case make timely filing impossible.                              Given the

    enlargement is only two days, neither the Court nor the Plaintiff will be

    prejudiced by a brief enlargement.

                                              CONCLUSION

            For the foregoing reasons, the Corizon Defendants request an enlargement

    up to and including July 12, 2019 to file their Reply Memorandum in support of

    their Motion to Dismiss or for Summary Judgment.

                                                      By:        /s/ Gregg A. Toomey
                                                               Gregg A. Toomey
                                                               Florida Bar No. 159689
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                                         CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 10th day of July, 2019, I electronically
    filed the foregoing with the Clerk of the Court by using the Florida State Filing
    Portal System, which will send a copy of the foregoing via electronic mail to the
    following:

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                                                         By:       /s/ Gregg A. Toomey
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